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&JS44 (Rev. 12/07)
The JS 44 civil cover sheet and the information coggain

by local rules of court. This form, approved by th i ‘onference of the United
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS
JENNIFER GALLAHER

 
  
  

(b) County of Residence of First Listed Pfaintiff Wayne
(EXCEPT IN U.S. PEAINTIFF CASES)

(c) Attorney’s (Firm Name, Address, and Telephone Number)

Jason M Rettig, 100 W Monument Ave,Hatboro, PA 19040, (267)

CIVIL COVER SHEET

herein neither replace nor supplement the filing and service of pleadin,
tates in

ACV. 4443

s or ather papers as required by law, except as provided

September 1974, is required for the use of the Clerk of Court for the purpose of initiating

    
 
  
 

DEFENDANTS

COMMERCIAL RECOVERY SYSTEMS, |INC.and NICKI

BOWSE and LANA CARTER
County of Residence of First Listed Defendant
(IN U.S. PLAINTIFPCASES ONLY)

NOTE: IN LAND CONDEMNATIOY CASES, USE THE LOCATION 4F THE
LAND INVCLVED.

 
 

Altomeys (if Known)

 

 

879-9054 ™
IL. BASIS OF JURISDICTION — Clace an “x” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES¢eiace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O1 US. Govemment St 3 [Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Goverment Not a Party) Citizen of This State o1 0 1 __ Incomorated or Principal Place 34 34
of Business In This State
2 US. Govemment 4 Diversity Citizen of Another State (} 2 (© 2 _ Incorporated and Principal Place 35 35
Defendant (indicate Citizenship of Parties in Item 1D) of Business In Another State
Citizen or Subject of a 43 © 3. Foreign Nation 36 176
Foreign Country

 

 

 

   

 

  

 
   
   

  

      
 

    
     
      
 
 
   

  

  
 
 
   
   

 

OTHER STAT Tes ey

       

 
        
    
  
 
   
   
 
 
 
  
   

  

   

    
    

 

 

 

 

 

 

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(1 120 Marine J 310 Airplane 362 Personal Injury - © 620 Other Food & Drug 0 423 Withdrawal O 410 Antitnist
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(3 140 Negotiable Instrument Liability (1 365 Personal Injury - of Property 21 USC 881 O 450 Commerce
C1 150 Recovery of Overpayment |} 320 Assault, Libel & Product Liability (J 630 Liquor Laws (1 460 Deportation
& Enforcement of Judgment Slander () 368 Asbestos Personal O 640 RR. & Truck (J 820 Copyrights VYA70 Racketeer Influenced and
(7 151 Medicare Act J 330 Federal Employers’ Injury Product (1 650 Airline Regs. 1 830 Patent Corrupt Organizations
CO 152 Recovery of Defaulted Liability Liability © 660 Occupational (3 840 Trademark 4pO Consumer Credit
Student Loans J 340 Marine PERSONAL PROPERTY Safety/Health 90 Cable/Sat TV
(Excl. Veterans) J 345 Marine Product OO 370 Other Fraud OG 690 Other 810 Selective Service
G 153 Recovery of Overpayment Liability © 371 Truth in Lending : tS OCA 850 Securities/Commodilties/
of Veteran’s Benefits 3 350 Motor Vehicle G 380 Other Personal C1 710 Fair Labor Standards O 861 HIA (1395ff) Exchange
(3 160 Stockholders’ Suits 3 355 Motor Vehicle Property Damage Act 0 862 Black Lung (923) GO 875 Customer Challenge
(3 190 Other Contract Product Liability OO 385 Property Damage 3 720 Labor/Mgmt. Relations [0 863 DIWC/DIWW (405(g)) 12 USC 3410
(3 195 Contract Product Liability [J 360 Other Personal Product Liability (1 730 Labor/MgmtReporting | 0 864 SSID Title XVI 890 Other Statutory Actions
G1 196 Franchise Inju & Disclosure Act O 891 Agricultural Acts
Poe REAL PROVE: CIVIL RICHES PRISONER PETEFIONS (J 740 Railway Labor Act SRE AS SUL CO 892 Economic Stabilization Act
0 210 Land Condemnation J 441 Votin $10 Motions to Vacate }[ 790 Other Labor Litigation GC 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
© 220 Foreclosure J 442 Employment Sentence (3 791 Empl. Ret. Inc. or Defendant) 0 894 Energy Allocation Act
1 230 Rent Lease & Ejectment ]7J 443 Housing/ Habeas Corpus: Security Act © 871 IRS—Third Party (1 895 Freedom of Information
(3 240 Torts to Land Accommodations 530 General 26 USC 7609 Act
CG 245 Tort Product Liability 1 444 Welfare 535 Death Penalty © 900Appeal of Fee Determination
(J 290 All Other Real Property [3 445 Amer. w/Disabilities - 540 Mandamus & Other [0 462 Naturalization Application Under Equal Access
Employment 550 Civil Rights 1 463 Habeas Corpus - to Justice
3 446 Amer. w/Disabilities - 555 Prison Condition Alien Detainee OG 950 Constitutionality of
Other 3 465 Other Immigration State Statutes
J 440 Other Civil Rights Actions
. ORIGIN (Place an “X” in One Box Only) Appeal to District
&1 \ Original C1 2 Removed from (} 3. Remanded from CJ 4 Reinstatedor O} 5 Transferred fr: O16 Multidisrict OO 7 ut from
Proceeding State Court Appeliate Court Reopene (specify) Litigation Judgment
Cite Hg ¥ & Fey. taunt ager which you are filing (Do not cite jurisdictional statutes unless diversity):
: :
/ CAUSE OF ACTION Brief description of cause:
Abusive and Uniawtul Debt Collection

 

 

VII. REQUESTED IN ( CHECK IF THISIS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in/epmp|aint:
O Yes

 

 

 

 

 

COMPLAINT: UNDER F.R.CP. 23 JURY DEMAND: 0
VII. RELATEDCASES) — UU
IF ANY (Seeinstructions): UGE DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORD

08/28/2012 {sf Jason M Rettig
FOR OFFICE USE ONLY

me 9
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE NO J 2 3 2012

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Case 2:12-cv-04943-EL Document1 Filed 08/23/12 Page 2 of 9
UNITED STATES DISTRICT COURT 1 9 4 9 4 3

FOR THE EASTERN DISTRICT OF PENNSY DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff Jennifer Gallaher, 164 Yaught Club Dr, Greentown, PA 18426

Address of Defendant: Commercial Recovery Systems, Inc, 8035 East R. L Thornton, Suite 200, Dallas TX 75357

Place of Accident, Incident or Transaction: Greentown, Wayne County. Pennsylvania
(Use Reverse Side For Additional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10%,or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)) yesU] ofA
Does this case involve multidistrict litigation possibilities? YesO 4B)
RELATED CASE, IF ANY:

Case Number: Judge Date Terminated:

 

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
YesO Noll

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

yes Nob]
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
terminated action in this court? Yes Cl No [ad

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

YesU] Nol

 

CIVIL: (Place W in ONE CATEGORY ONLY)

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
1. © Indemnity Contract, Marine Contract, and All Other Contracts 1. O Insurance Contract and Other Contracts
2. 0 FELA 2. O Airplane Personal Injury
3. O Jones Act-Personal Injury 3. G Assault, Defamation
4, © Antitrust 4. O Marine Personal Injury
5. O Patent 5. (1 Motor Vehicle Personal Injury
6. O Labor-Management Relations 6. O Other Personal Injury (Please
specify)
7. O Civil Rights . O Products Liability
. O Habeas Corpus C Products Liability — Asbestos
. O Securities Act(s) Cases 9. O All other Diversity Cases
10.0 Social Security Review Cases 15 USC, et seq (Please specify)
1 All other Federal Question Cases Abusive and Unlawful Debt Collection

(Please specify)
ARBITRATION CERTIFICATION
(Check Appropriate Category)
1, , counsel of record do hereby certify:
O Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
O Relief other than monetary damages is sought.

DATE:

 

 

 

Attomey-at-Law Attorney 1.D.#
: : oe : : as
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38. BS 2 3 2012

 

L certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

except as noted above.

DATE: i df) Jason M Rettig PA BAR:200948

Attorney-at-Law Attomey L.D.#

 

CIV. 609 (6/08)
Case 2:12-cv-04943-EL Document1 Filed 08/23/12 Page 3 of 9

Jon UNITED STATES DISTRICT COURT
F EASTERN DISTRICT OF PENNSYLVANIA
CASE MANAGEMENT TRACK DESIGNATION FORM

JENNIFER GALLAHER : CIVIL ACTION

. 12 4943

COMMERCIAL RECOVERY SYSTEMS, INC :
and NICKI BOWSE and LANA CARTER : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Desi gnation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus ~ Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule $3.2. ( )

(d) Asbestos ~ Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) (

(f) Standard Management — Cases that do not fall into any one of the other tracks.

 

 

_ 7 Jason M Rettig
g/21 (12
Date Attorney-at-law Attorney for
(267) 879-9054 866-861-1390 rettiglaw@yahoo.com
Telephone FAX Number E-Mail Address
(Civ. 660) 10/02 °

iwc 28 202
Case 2:12-cv-04943-EL Document1 Filed 08/23/12 Page 4 of 9

EL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

JENNIFER GALLAHER, )
)
Plaintiff, )
)

v. ) No 12 4949
)
COMMERCIAL RECOVERY )
SYSTEMS, INC. and )
NICKI BOWSER and )
LANA CARTER, )
)
Defendants. )

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL
NOW COMES JENNIFER GALLAHER (“Plaintiff”), by her attorneys, and alleges the
following against COMMERCIAL RECOVERY SYSTEMS, INC. and NICKI BOWSE and LANA

CARTER (collectively “Defendants”):

 

INTRODUCTION
1. Count I of Plaintiff's Complaint is based on the Fair Debt Collection Practices Act,
15 U.S.C. 1692 et seq. (““FDCPA”).
JURISDICTION AND VENUE
2. Jurisdiction of this Court arises pursuant to 75 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court without
regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court supplemental jurisdiction

over the state claims contained therein.

PLAINTIFF’S COMPLAINT 1
Case 2:12-cv-04943-EL Document1 Filed 08/23/12 Page 5 of 9

3. Defendants conduct business in the State of Pennsylvania and therefore, personal
jurisdiction is established.

4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

PARTIES

5. Plaintiff is a natural person residing in Greentown, Wayne County, Pennsylvania.

6. Plaintiff is a consumer as that term is defined by /5 U.S.C. 1692a(3), and according
to Defendants, Plaintiff allegedly owes a debt as that term is defined by 7/5 U.S.C. 1692a(5).

7. Defendants are debt collectors as that term is defined by 15 U.S.C. 1692a(6) and
sought to collect a consumer debt from Plaintiff.

8. Defendant COMMERCIAL RECOVERY SYSTEMS, INC. is a national corporation
with a business office located in Dallas, Texas.

9. Plaintiff is informed and believes, and thereon alleges, that Defendants NICKI
BOWSER and LANA CARTER are persons who sought to collect a debt from Plaintiffand have an
office located in Dallas, Texas.

10. Defendants acted through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

11. Defendant are debt collectors in the ordinary course of business, regularly, on behalf
of itself or others, engages in debt collection.

FACTUAL ALLEGATIONS

12. Defendants are seeking payment for an alleged deficiency balance on a car loan

originally obtained through HSBC. The vehicle was repossessed in 2005 and Plaintiff's credit

report reflects that this debt was charged off by the original creditor in 2008.

PLAINTIFF’S COMPLAINT

No
Case 2:12-cv-04943-EL Document1 Filed 08/23/12 Page 6 of 9

13. In approximately December 2011, Defendant began placing collection calls to
Plaintiff at her home to collect on the alleged deficiency balance on the repossessed vehicle. Upon
information and belief, Defendant first called Plaintiff on her home number, 315-285-5229, but
Plaintiff did not answer because she did not recognize the number and Defendant did not leave any
messages.

14. Defendant’s collector, who identified herself as Lana Carter, proceeded to call
Plaintiff's father, Frederico Guzman. Carter spoke to Guzman and left a call back number of (800)
514-5371. Carter told Guzman that there a case against Plaintiff that would be filed on January 13,
2012 if she did not pay.

15. Thereafter, Carter spoke to Plaintiff at her home and requested payment before "a
court date on 13 January 2012.” Carter told Plaintiff she was a “mediator;” that she was collecting
on an HSBC deficiency balance from 2005; that she had a case number on Plaintiff of F3036132;
that Defendant was filing a suit by “13 January 2012”; and that they would garnish wages and take
collateral, which would be Plaintiff's current cars.

16. Carter also said Defendant was “going after” Plaintiff's husband’s wages.

17. Soon thereafter, Defendant Nicky Bowser (“Bowser”) left a voicemail message on
Plaintiff's phone stating that there was an “affidavit of complaint pending” against Plaintiff to be
brought “per the State of New York” and that unless Plaintiff returns the call, Bowser will be
“forced to go ahead and make a recommendation to have a writ of garnishment brought” against
Plaintiff. See transcription of voicemail as Exhibit “A” hereto.

18. In the recording, Bowser failed to disclose that the call was from a debt collector or

that it was an attempt to collect a debt.

Go

PLAINTIFF’S COMPLAINT
19.

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In the recording, Bowser failed to meaningfully or truthfully disclose the identity of

the caller or the purpose of the call.

20.

In the recording, Bowser threatened or implied legal action or garnishment against

Plaintiff which could not be taken as Defendant has not obtained a judgment or other court order

enabling it to take such action.

COUNT I
DEFENDANT VIOLATED THE FAIR DEBT
COLLECTION PRACTICES ACT

21. Defendant violated the FDCPA based on the following:

a. Defendant violated $1692c(b) of the FDCPA by making the unauthorized third party

disclosure of telling Plaintiffs father that Defendant would be filing a lawsuit
against Plaintiff if she did not pay Defendant:

Defendant violated §/692d of the FDCPA by engaging in conduct the natural
consequence of which is to harass, oppress, or abuse Plaintiff in connection with the
collection of a debt;

Defendant violated $/692d(6) of the FDCPA by placing calls to Plaintiff without
meaningful disclosure of the caller’s identity;

Defendant violated $/692e(1) of the FDCPA by making the false representation to
Plaintiff that Defendant was vouched for or affiliated with the State of New York;
Defendant violated $/692e(4) of the FDCPA by threatening to garnish Plaintiff's
wages if she did not pay Defendant when such action was not lawful nor did
Defendant intend to take such action;

Defendant violated §7692e(5) of the FDCPA by threatening to sue Plaintiff by

PLAINTIFF’S COMPLAINT 4
Case 2:12-cv-04943-EL Document1 Filed 08/23/12 Page 8 of 9

January 13, 2012 if she did not pay Defendant, when Defendant did not intend such
action .

g. Defendant violated §1692e(5) of the FDCPA by threatening to garnish Plaintiff's
husband’s wages and take collateral, when Defendant cannot take and/or did not
intend such action.

h. Defendant violated §/692e(/]) by failing to disclose in communications with
Plaintiff that it was a debt collector and that the communications were for the
purposes of collecting a debt.

WHEREFORE, Plaintiff, JENNIFER GALLAHER, respectfully requests judgment be
entered against Defendant, COMMERCIAL RECOVERY SYSTEMS, INC., for the following:
22. Statutory damages pursuant to the Fair Debt Collection Practices Act, J5 U.S.C. 1692k,
23. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, /5
US.C. 1692k

24. Any other relief that this Court deems appropriate.

RESPECTFULLY SUBMITTED,

yo
By: C—

Jason M Rettig, Esquire

100 W Monument Ave
Hatboro, PA 19040

Phone :(267) 879-9054
E-mail: rettiglaw@yahoo.com
Attorney for Plaintiff

DEMAND FOR JURY TRIAL

Plaintiff, JENNIFER GALLAHER, demands a jury trial in this case.

PLAINTIFF’S COMPLAINT 45
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AO 458 (Rev. 01/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Eastern District of Pennsylvania

 

 

___ JENNIFER GALLAHER _ ) 9 4 3
Plaintiff )
Vv. ) Case No. 1 2 4
COMMERCIAL RECOVERY SYSTEMS, INC. and NI _ )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

| am authorized to practice in this court, and I appear in this case as counsel for:

Plaintiff, JENNIFER GALLAHER

 

pate: (21/12 & (_ Le

Attorney's signature

Jason M Rettig - 200948

 

Printed name and bar number

100 W Monument Ave
Hatboro, PA 19040

 

Address

rettiglaw@yahoo.com

 

E-mail address

(267) 879-9054

 

Telephone number

_ (866) 385-1408
FAX number

 
